                            Case 1:15-cr-00288-AWI-SKO Document 514 Filed 07/31/20 Page 1 of 2



                        1 SALLY VECCHIARELLI #305636
                          PROPER DEFENSE LAW CORPORATION
                        2 677 W. Palmdon Drive, Suite 201
                          Fresno, CA 93704
                        3 Telephone: (559) 825-3800
                          Facsimile: (559) 705-1870
                        4
                          Attorney for Defendant
                        5 CARLOS DAVID TAFOYA-RAMOS

                        6

                        7                         IN THE UNITED STATES DISTRICT COURT
                        8                             EASTERN DISTRICT OF CALIFORNIA

                        9

                       10 UNITED STATES OF AMERICA,                    )       Case No. 1:15-cr-00288-NONE-SKO
                                                                       )
                       11                Plaintiff,                    )       STIPULATION RE BRIEFING
                                                                       )       SCHEDULE; ORDER
                       12                                              )
                                                                       )
                       13                                              )
                                             v.                        )
                       14                                              )
                                                                       )
                       15                                              )
                                                                       )
                       16 CARLOS DAVID TAFOYA-RAMOS                    )
                                                                       )
                       17                Defendant.                    )
                                                                       )
                       18                                              )
                       19

                       20         Counsel submitted a briefing schedule and it was so ordered on June 25, 2020. The parties

                       21 are unable to proceed with filings by the agreed upon dates as necessary documentation has not

                       22 been received by the defense counsel. IT IS HEREBY STIPULATED by and between the parties

                       23 through their respective counsel, KATHLEEN ANNE SERVATIUS, Assistant United States

                       24 Attorney, counsel for plaintiff, and SALLY VECCHIARELLI, Appointed Counsel for defendant
                          CARLOS DAVID TAFOYA-RAMOS, that the briefing schedule be extended as follows:
                       25

                       26
                                  August 31, 2020:      Defendant’s filing of 18 U.S.C. Section 3582(c) Motion
                       27
                                  September 21, 2020: Plaintiff’s Response to Defendant’s filing of 18 U.S.C. Section
                       28
    Proper Defense                                    3582(c) Motion
   Law Corporation
677 W. PALMDON DRIVE
      SUITE 201                                                            1
  FRESNO, CA 93704
                                                       STIPULATION re: BRIEFING SCHEDULE
                            Case 1:15-cr-00288-AWI-SKO Document 514 Filed 07/31/20 Page 2 of 2



                        1         September 28, 2020: Defendant’s Reply
                        2

                        3                                                        Respectfully Submitted,
                                                                                 Sally Vecchiarelli
                        4

                        5
                            DATED: July 31, 2020                       By        /s/ Sally Vecchiarelli
                        6                                                        SALLY VECCHIARELLI
                                                                                 Appointed Counsel
                        7                                                        Attorney for Defendant
                                                                                 CARLOS DAVID TAFOYA-RAMOS
                        8

                        9 DATED: July 31, 2020                         By        /s/ Kathleen Anne Servatius
                                                                                 KATHLEEN ANNE SERVATIUS
                       10                                                        United States Attorney
                                                                                 Attorney for Plaintiff
                       11

                       12
                                                                       ORDER
                       13

                       14         The above stipulated scheduled is adopted in full.
                       15
                            IT IS SO ORDERED.
                       16

                       17      Dated:   July 31, 2020
                                                                                UNITED STATES DISTRICT JUDGE
                       18
                       19

                       20

                       21

                       22

                       23

                       24

                       25

                       26
                       27

                       28
    Proper Defense
   Law Corporation
677 W. PALMDON DRIVE
      SUITE 201                                                             2
  FRESNO, CA 93704
                                                       STIPULATION re: BRIEFING SCHEDULE
